 Case 8:20-cv-02917-VMC-CPT Document 1 Filed 12/08/20 Page 1 of 8 PageID 1




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA


NATIONAL NURSES ORGANIZING       ) Case No.:
COMMITTEE – FLORIDA/NATIONAL     )
NURSES UNITED, AFL-CIO,          )
                                 ) CIVIL ACTION
           Petitioner,           )
                                 )
v.                               )
                                 )
GALEN OF FLORIDA, INC., d/b/a    )
ST. PETERSBURG GENERAL HOSPITAL, )
                                 )
           Respondent.           )
                                 )
                                 )
                                 )

                                         COMPLAINT

       NNOC-Florida/National Nurses United, AFL-CIO, Petitioner, complains of Galen of

Florida, Inc., d/b/a St. Petersburg General Hospital, Respondent, as follows:

                               PRELIMINARY STATEMENT

   1. This is an action arising under Section 301 of the Labor Management Relations Act, 29

U.S.C. § 185(a), to compel arbitration under the parties’ collective bargaining agreement.

                                JURISDICTION AND VENUE

   2. Petitioner NNOC-Florida/National Nurses United, AFL-CIO (“the Union”) represents a

bargaining unit of registered nurses at Respondent Galen of Florida, Inc., d/b/a St. Petersburg

General Hospital (“SPGH” or “the Hospital”). St. Petersburg General Hospital is owned by HCA,

Inc. (“HCA”).
 Case 8:20-cv-02917-VMC-CPT Document 1 Filed 12/08/20 Page 2 of 8 PageID 2




   3. The Union files this action pursuant to Section 301(a) of the Labor-Management Relations

Act (“LMRA”), as amended, 29 U.S.C. §185(a), to compel arbitration of a dispute between NNOC

and the Hospital. This Court has jurisdiction under 29 U.S.C. §185(a) and 28 U.S.C. §1331.

   4. Venue is proper in this District pursuant to 29 U.S.C. §185(c). Petitioner, NNOC has

offices in and represents members throughout the Middle District of Florida, including those

employed by the Hospital. In addition, the dispute arose within the Middle District of Florida, as

St. Petersburg General Hospital is located in the District.

                                             PARTIES

   5. The Union is a “labor organization” representing employees of St. Petersburg General

Hospital for the purposes of collective bargaining within the meaning of Section 2(5) of the

National Labor Relations Act (“NLRA”), 29 U.S.C. §152(5). The Union is an unincorporated

labor organization authorized to do and doing business in various counties throughout Florida,

including Hillsborough and Pinellas Counties. The Union represents employees of St. Petersburg

General Hospital in an industry affecting commerce within the meaning of Section 301(a) of the

LMRA, 29 U.S.C. §185(a).

   6. St. Petersburg General Hospital is an “employer” in an industry affecting commerce within

the meaning of Section 2(2) of the NLRA, 29 U.S.C. §152(2). The Union is informed and believes,

and thereupon alleges, that Respondent St. Petersburg General Hospital, is now and, at all times

material herein, has been a for-profit Florida corporation operating under the laws of the State of

Florida and authorized to do and doing business in the State of Florida, including the County of

Pinellas.




                                                 2
 Case 8:20-cv-02917-VMC-CPT Document 1 Filed 12/08/20 Page 3 of 8 PageID 3




                                            FACTS

   7. The Union and SPGH are parties to an effective Collective Bargaining Agreement. On or

about October 16, 2018, the Union and SPGH entered into a written Collective Bargaining

Agreement, effective from October 16, 2018 through May 31, 2021. A true and correct copy of

the Collective Bargaining Agreement is attached hereto and incorporated herein by reference as

Exhibit “A.”

   8. The Union filed the grievances underlying this Petition to Compel Arbitration in May 2020,

pursuant to the Collective Bargaining Agreement. A true and correct copy of the grievances

underlying this Petition are attached hereto and incorporated herein by reference as Exhibit “B,”

“C,” and “D,” respectively.

   9. Article 18, Section 2 of the Collective Bargaining Agreement, entitled “Definition of

Grievance,” specifies that “[a] ‘grievance’ is defined as any complaint against the Hospital

submitted by the Union in writing for an alleged breach of a specific provision of this Agreement,

except as to those provisions which are not subject to this Article.” Additionally, “[a] ‘class

grievance’ is defined as any complaint against the Hospital submitted in writing by the Union on

behalf of two (2) or more Registered Nurses and regarding the same alleged breach of this

Agreement or multiple alleged breaches of the same provision(s) of this Agreement.”

   10. Article 18, Section 3 of the Collective Bargaining Agreement, entitled “Grievance

Procedure,” sets forth the grievance procedure and provides for final and binding arbitration of

any grievances that have not been resolved by the Parties through the prior steps in the grievance

procedure.




                                                3
 Case 8:20-cv-02917-VMC-CPT Document 1 Filed 12/08/20 Page 4 of 8 PageID 4




          Grievance 1: Violations of On-Call / Call-Back and Minimums Provisions

   11. Article 31, Section 1 of the Collective Bargaining Agreement entitled “On-Call Pay,”

requires that all “[r]egistered Nurses in eligible Departments and positions required to be On-Call

shall be paid at $3.50 for all hours spent On Call.” In addition, Article 31, Section 2 entitled “Call-

Back Pay” specifies that if nurses are “required to work when On-Call, a Registered Nurse shall

be paid Call-Back pay at the rate of one and one-half (1 ½) times the Registered Nurse’s regular

base hourly rate, plus any applicable differentials (e.g., shift or weekend).”

   12. Article 7, Section C of the Collective Bargaining Agreement, entitled “Minimum Rates,”

establishes minimum wages, benefits, and economic provisions within the Agreement. In addition,

the section states that nothing in the Agreement “shall be deemed or construed to limit the

Employer’s right, at its discretion, to increase wages based upon market conditions in excess of

that provided by this Agreement, except that the Employer shall not establish a merit based pay

program. Accordingly, it is also understood that any such increases shall be over and above the

economic package negotiated in this Agreement. Before taking any action, the Hospital shall

notify the Union and meet and confer over the proposed changes.”

   13. On May 11, 2020, the Union filed a grievance alleging, among other things, that the

Hospital had violated multiple provisions of the parties’ Collective Bargaining Agreement,

including the aforementioned sections, by implementing a policy offering so-called “Pandemic

Pay” at 70% of employees’ base pay for employees working in units with reduced volumes without

notifying the Union. See Exhibit “B.”

   14. The implementation of this policy affected all Registered Nurses who did not work an

unscheduled shift during the same work week and were denied both “pandemic pay” for their

mandatory minimum pay and the days they were called-off work. By adoption of this policy,



                                                  4
 Case 8:20-cv-02917-VMC-CPT Document 1 Filed 12/08/20 Page 5 of 8 PageID 5




SPGH thus changed bargaining nurses’ Base and On-Call pay. And the Hospital made this change

without notifying the Union and meeting and conferring over the proposed changes as required by

the CBA.

                         Grievance 2: Violations of Floating Provisions

   15. Article 17 of the Collective Bargaining Agreement, “Floating,” sets forth the floating

requirements for all nurses. Article 17, Section 1, “General,” establishes that “[r]egistered Nurses

will float to units as directed, but will not be required to perform duties for which they do not have

a current, demonstrated, validated competency.” Article 17, Section 2, “Procedure,” requires that

the selection sequence of nurses be floated in a particular order, and any “[e]xceptions to, or

departures from, the sequence set forth above may occur if, in the good faith judgment of the

Hospital, the individual scheduled to float does not possess the skills required in the receiving unit

or has unique skills needed in the giving unit.”

   16. Article 17, Section 4 of the Collective Bargaining Agreement, “Assignment and

Introduction,” states that, “[r]egistered Nurses will not be required to float outside of their ‘like

units’ unless an Emergency Situation occurs or in the good faith judgment of the Hospital patient

care needs require such floating because of the unavailability of staff to float from a ‘like unit.’

Consistent with this Article, the Registered Nurse will not be required to perform duties for which

he or she does not have a current, demonstrated, validated competency.”

   17. On May 8, 2020, the Union filed a grievance alleging, among other things, that the Hospital

had violated multiple provisions of the parties’ Collective Bargaining Agreement, including the

aforementioned sections, by requiring Registered Nurses to float to unlike units without fulfilling

competency requirements, protocol, and the selection order in non-Emergency situations. In some




                                                   5
 Case 8:20-cv-02917-VMC-CPT Document 1 Filed 12/08/20 Page 6 of 8 PageID 6




instances, the Hospital required Registered Nurses to float to unlike units under the threat of

discipline demonstrating the Hospital’s lack of good faith judgment. See Exhibit “C.”

    Grievance 3: Violations of Various Provisions Related to Per Diem Nurse Call-Offs

   18. Article 17, Section 2, “Procedure,” requires that the selection sequence of nurses shall be

floated in a particular order based on a set list, and that any “[e]xceptions to, or departures from,

the sequence set forth above may occur if, in the good faith judgment of the Hospital, the individual

scheduled to float does not possess the skills required in the receiving unit or has unique skills

needed in the giving unit.” Article 6, Section 3, “Order of Call Off,” subjects the Hospital to a

specific order for call offs and requires that “RNs are fully competent to care for the Hospital’s

actual and anticipated patients.” Further, Article 10, Section 1, “Discipline for Just Cause” restricts

the Hospital to “discipline or discharge a Registered Nurse for just cause.”

   19. The Union filed a grievance on May 7, 2020, alleging that the Hospital had violated

multiple provisions of the parties’ Collective Bargaining Agreement, including the aforementioned

sections, by removing PRNs from the schedule while still using Agency Registered Nurses to

relieve bargaining unit RNs during the peak workload, failing to ensure that the remaining

bargaining unit RNs fulfilled competency requirements before removing PRNs from the schedule,

and effectively discharging or disciplining Per Diem Nurses without just cause. See Exhibit “D.”

   20. On June 10, 2020, after the Hospital denied all of the above grievances at each of the

required prior steps of the grievance procedure, the Union demanded arbitration of the grievances.

A true and correct copy of this demand for arbitration is attached hereto and incorporated herein

by reference as Exhibit “E.”

   21. The Union contacted the Federal Mediation and Conciliation Services (“FMCS”) for a list

of arbitrators available to hear these grievances. FMCS sent the Parties a list of arbitrators on June



                                                  6
 Case 8:20-cv-02917-VMC-CPT Document 1 Filed 12/08/20 Page 7 of 8 PageID 7




18, 2020. A true and correct copy of the FMCS List is attached hereto and incorporated herein by

reference as Exhibit “F,” “G,” and “H.”

   22. On June 29, 2020, SPGH, through Hospital Corporation of America Management Services,

emailed letters to the Union refusing to participate in arbitration. A true and correct copy of those

Letters are attached hereto and incorporated herein by reference as Exhibit “I,” “J,” and “K.”

   23. As of the filing date of this instant Petition, the Hospital has still not agreed to proceed to

an arbitration with the Union for all of the aforementioned grievances. Upon information and

belief, the Hospital maintains the position that it refuses to arbitrate the grievances.

   24. SPGH’s refusal to proceed to arbitration violates Article 18, Section 3 of the Parties’

Collective Bargaining Agreement.

   25. Because of SPGH’s refusal to proceed to arbitration, the Union’s attorneys have had to

work on this matter, where they otherwise would not have been involved.

   26. SPGH’s failure to proceed to arbitration on these grievances is without excuse, without

merit, unjustified, dilatory, frivolous and done in bad faith, vexatiously and/or for oppressive

reasons.

                                     PRAYER FOR RELIEF
WHEREFORE, the Unions pray for relief as follows:
       1.      For an Order of the Court compelling SPGH to submit the above mentioned
grievance to arbitration pursuant to the terms of the Collective Bargaining Agreement attached
hereto as Exhibit “A.”
       2.      For an Order of the Court directing SPGH to select an arbitrator with the Union
by a date certain.
       3.      For its reasonable attorneys’ fees.
       4.      For costs of suit incurred herein.
       5.      For such other and further relief as this Court deems just and proper.


                                                    7
 Case 8:20-cv-02917-VMC-CPT Document 1 Filed 12/08/20 Page 8 of 8 PageID 8




DATED: December 8, 2020           Respectfully submitted,
                                  By:_/s/ Jose J. Rodriguez________
                                  Jose Javier Rodriguez, Esq.
                                  Florida Bar No. 0029469
                                  D. Marcus Braswell, Jr., Esq., Trial Counsel
                                  Florida Bar No. 146160
                                  SUGARMAN & SUSSKIND, P.A.
                                  Attorneys for Plaintiffs
                                  100 Miracle Mile, Suite 300
                                  Coral Gables, FL 33134
                                  Telephone: (305) 529-2801
                                  Facsimile: (305) 447-8115
                                  JJR@sugarmansusskind.com
                                  MBraswell@sugarmansusskind.com




                                     8
